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April 5, 2021

The Hon. Alison J. Nathan
United States District Court Judge
Southern District of New York
40 Foley Square
New York, NY 10007

Re: Unopposed Request for One-Week Continuance of Arraignment
    United States v. Ghislaine Maxwell, 20 Cr. 330 (AJN)

Dear Judge Nathan:

       Counsel for Ms. Maxwell writes to request that the arraignment of the S2 Indictment

(Dkt. 193), tentatively scheduled for April 16, 2021, be calendared for April 23, 2021. The

government does not oppose this request.

       At present, counsel for Ms. Maxwell has a conflict on April 16, 2021 in Colorado due

to a currently-scheduled hearing that day. Additionally, other members of Ms. Maxwell’s

defense team have previously scheduled a review of the physical evidence the weeks of April

12 and 19th in the courthouse and would prefer to complete that review prior to the

arraignment.

       Counsel appreciates that an in-person arraignment requires some logistical

arrangements which may be accommodated by the requested date. Further, the extra time will

permit Ms. Maxwell’s family members to adjust their schedules and make travel arrangements

to attend the court proceedings.

       Ms. Maxwell respectfully requests that the Court hold the arraignment on the S2

Indictment on April 23, 2021, or such other date convenient to the Court during the week of
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April 19, 2021.

                                    Respectfully submitted,



                                    Laura A. Menninger

CC: Counsel of Record
